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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                     May 18, 2021

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Counsel for Edward Jacob Lang

       Re:      United States v. Edward Jacob Lang
                Case No. 1:21-cr-00053-CJN

Dear Counsel:

       Enclosed as discovery in this case is an index describing materials that have been
uploaded to USAfx and made available to you on May 18, 2021.

      As with all files uploaded to USAfX, they automatically delete after 60 days per the
automatic retention policy in place. Please download the files before then.

        Most of these files were already previously provided on April 27, 2021 as part of
Production 3 or on April 29, 2021 as part of Production 4. (Some were very large and not
produced with informal discovery in those rounds.) They are now being re-provided with bates-
labels and load files, in case you plan on using a document review database. Specifically, this
production includes CAP01_000002579 - CAP01_000014550.

        The production includes both a PDF and Native folder. The PDF folder contains
discovery in searchable Adobe format. The NATIVE folder provides native files for the items
that cannot be processed, such as audio/video recordings. Files not processed will have a
"placeholder" that references the native file. The placeholder will indicate the Bates number so
that you can easily find the native at the same number in the NATIVE folder.

       Second, the production also includes a DATA, IMAGE, and TEXT folder. These folders
provide relevant load files and data necessary to upload the materials to a document review
database.
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       Some defense counsel prefer to just use the index mentioned above and the PDF and
NATIVE folders. Other defense counsel will prefer to build a document review database. We
are providing you with both formats so that you can determine what works best for you.

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is subject to the terms of the Protective Order issued in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,




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Enclosure(s)
cc:




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